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11
                           UNITED STATES DISTRICT COURT
12                        WESTERN DISTRICT OF WASHINGTON
13   ROBERT BOULE,                            NO. 2:17-CV-00106-RSM
14
                        Plaintiff,            DECLARATION (WITH EXHIBITS)
15                                                 OF ROBERT BOULE
16   vs.

17   ERIK EGBERT and JANE DOE
     EGBERT and their marital community,
18

19                      Defendants.
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21                      FILED UNDER SEAL
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      CV-00106-RSM • Page 1                                   522 W. Riverside Avenue, Suite 560
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             Case 2:17-cv-00106-RSM Document 98 Filed 07/05/18 Page 2 of 2




                              CERTIFICATE OF SERVICE:
 1

 2          I hereby certify that on the 5th day of July 2018, I electronically filed and
     served a copy of this document using the CM/ECF filing system which will send
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     notification of such filing to the following:
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           I declare under penalty of perjury under the laws of the United States of
15

16   America that the foregoing is true and correct.
17
                                     s/Breean L. Beggs
18                                   Breean L. Beggs, WSBA #20795

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